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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT



RICHARD COX                                  :       NO.: 3:22-cv-01209-JBA

v.

OSCAR DIAZ, BETSY SEGUI                      :       NOVEMBER 21, 2022
RONALD PRESSLEY, JOCELYN
LAVANDIER, LUIS RIVERA AND
CITY OF NEW HAVEN


         DEFENDANT BETSY SEQUI’S ANSWER AND AFFIRMATIVE DEFENSES

        Defendant, BETSY SEQUI, responds to Plaintiff’s complaint dated September 27, 2022
as follows:

       A. JURISDICTION AND VENUE

          1. Defendant has insufficient knowledge or information upon which to form an

              opinion or belief and leaves the Plaintiff to his proof.

          2. Defendant has insufficient knowledge or information upon which to form an

              opinion or belief and leaves the Plaintiff to his proof.

          3. Defendant has insufficient knowledge or information upon which to form an

              opinion or belief and leaves the Plaintiff to his proof.

          4. Defendant has insufficient knowledge or information upon which to form an

              opinion or belief and leaves the Plaintiff to his proof.

          5. Admitted insofar as the allegation is directed to Defendant, Betsy Segui.

          6. Admitted insofar as the allegation is directed to Defendant, Betsy Segui.

          7. Denied.
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FIRST COUNT

B. FACTUAL ALLEGATIONS – The Traffic Event

1. Defendant has insufficient knowledge or information upon which to form an opinion

   or belief and leaves the Plaintiff to his proof.

2. Defendant has insufficient knowledge or information upon which to form an opinion

   or belief and leaves the Plaintiff to his proof.

3. Defendant has insufficient knowledge or information upon which to form an opinion

   or belief and leaves the Plaintiff to his proof.

4. Defendant has insufficient knowledge or information upon which to form an opinion

   or belief and leaves the Plaintiff to his proof.

5. Defendant has insufficient knowledge or information upon which to form an opinion

   or belief and leaves the Plaintiff to his proof.

6. Defendant has insufficient knowledge or information upon which to form an opinion

   or belief and leaves the Plaintiff to his proof.

7. Defendant has insufficient knowledge or information upon which to form an opinion

   or belief and leaves the Plaintiff to his proof.

8. Defendant has insufficient knowledge or information upon which to form an opinion

   or belief and leaves the Plaintiff to his proof.


SECOND COUNT – Negligence as to Diaz


1-14. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.
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1-14. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


THIRD COUNT – Recklessness as to Diaz


1-14. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


1-14. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


FOURTH COUNT – As to the City of New Haven


1-16. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


FIFTH COUNT – Recklessness as to the City of New Haven


1-16. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


SIXTH COUNT – Negligence as to the City of New Haven


1-14. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


SEVENTH COUNT – 42 U.S.C. §1983 as to Defendant, Diaz, Excessive Force


1-13. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.
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EIGHTH COUNT – 42 U.S.C. §1983 - As to Defendant Diaz – Denial of Medical
Treatment

1-12. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


NINTH COUNT – Negligence as to Defendant Diaz – Failure to Provide Medical
Assistance

1-14. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


TENTH COUNT – Negligence as to the City of New Haven – Conn. Gen. Stat.
§52-557n

1-16. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


ELEVENTH COUNT – 42 U.S.C. §1983 – As to Oscar Diaz, Betsy Sequi, Ronald
Pressley, Jocelyn Lavandier and Luis Rivera – Excessive Force

1-8. Incorporated by reference answer to paragraph 1-8 of Count One.

9. Denied.

10. Denied.

11. Denied.

12. Denied.

13. Denied.

14. Denied.

15. Denied.

16. Denied.
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TWELFTH COUNT – 42 U.S.C. §1983 Denial of Medical Treatment – As to Oscar
Diaz, Betsy Segui, Ronald Pressley, Jocelyn Lavandier and Luis Rivera

1-10. Incorporated by reference answers to paragraph 1-10 of the Eleventh Count.

11. Denied

12. Denied.

13. Denied.

14. Denied.

15. Denied.

17. Denied.



THIRTEENTH COUNT – 42 U.S.C. §1983 – As to Oscar Diaz, Betsy Segui, Ronald
Pressley, Jocelyn Lavandier and Luis Rivera

1-10. Incorporated by reference answers to paragraph 1-10 of Twelfth Count.

11. Admitted insofar as the allegation is directed to Defendant, Betsy Segui.

12. Denied.

13. Denied.

14. Denied.

15. Denied.

16. Denied.

17. Denied.

18. Denied.

19. Denied.
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FOURTEENTH COUNT – Intentional Infliction of Emotional Distress – As to
Oscar Diaz, Betsy Sequi, Ronald Pressley, Jocelyn Lavandier and Luis Rivera

1-11. Incorporated by reference answers to paragraph 1-11 of the Eleventh Count.

12. Denied.

13. Denied.

FIFTEENTH COUNT             - Assault as to Oscar Diaz, Betsy Segui, Ronald
Pressley, Jocelyn Lavandier and Luis Rivera

1-11. Incorporated by reference answers to paragraph 1-11 of the Eleventh Count.

12. Denied.

SIXTEENTH COUNT – Battery as to Oscar Diaz, Betsy Segui, Ronald Pressley,
Jocelyn Lavandier and Luis Rivera

1-11. Incorporated by reference answers to paragraph 1-11 of the Eleventh Count.

12. Denied.

SEVENTEENTH COUNT – Negligence as to Oscar Diaz, Betsy Segui, Ronald
Pressley, Jocelyn Lavandier and Luis Rivera

1-11. Incorporated by reference answers to paragraph 1-11 of the Eleventh Count.

12. Denied.

13. Denied.

14. Denied.

15. Denied.

16. Denied.

17. Denied.
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EIGHTEENTH COUNT – Negligence as to City of New Haven

1-18. Defendant Segui does not respond to the allegations of this Count as they are not

directed to her.


NINETEENTH COUNT – Indemnification, Connecticut General Statutes §7-465 as
to City of New Haven

1.    Admitted insofar as the allegation is directed to Defendant, Betsy Segui.

2. Defendant has insufficient knowledge or information upon which to form an opinion

     or belief and leaves the Plaintiff to his proof.

3. Defendant has insufficient knowledge or information upon which to form an opinion

     or belief and leaves the Plaintiff to his proof.
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BY WAY OF AFFIRMATIVE DEFENSES



FIRST AFFIRMATIVE DEFENSE


       The Plaintiff’s complaint or specific portions thereof, fail(s) to state a claim upon which

relief can be granted.


SECOND AFFIRMATIVE DEFENSE


       The actions and conduct of this Defendant, did not violate any clearly established

constitutional or federal statutory right of which Defendant reasonably should have been aware

and she is therefore entitled to qualified immunity.

THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by the doctrine of governmental immunity pursuant to

C.G.S. §52-557n and common law.

FOURTH AFFIRMATIVE DEFENSE

       Pursuant to Connecticut General Statutes §52-557h, to the extent the Plaintiff was

injured, the Plaintiff’s own negligence and carelessness contributed to and was a substantial

factor in causing the injuries and losses alleged in the Complaint, in that:

       a) He failed to act as a reasonable, prudent person under the circumstances;

       b) He failed to comply with the lawful commands of officers on scene; and

       c) He actively interfered with the investigation conducted by officers on scene.
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       JURY TRIAL DEMAND


The Defendant, BETSY SEGUI, demands a trial by jury on all claims.




                                                 DEFENDANT,
                                                 BETSY SEGUI

                                                 By /s/ Thomas E. Katon (ct01565)
                                                 Thomas E. Katon
                                                 Susman, Duffy & Segaloff, P.C.
                                                 700 State Street, Suite 100
                                                 New Haven, CT 07611
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                                        CERTIFICATION

        This is to certify that on November 21, 2022 a copy of the foregoing Answer and
Affirmative Defenses was filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the
Court’s electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF System.




                                                      /s/ Thomas E. Katon (ct01565)
                                                      Thomas E. Katon
